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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                            CASE NO. 1:21:CR:392-RCL


                                                    DEFENDANTS UNOPPOSED MOTION
VS                                                  TO TRAVEL


RUSSELL TAYLOR
DEFENDANT




Defendant Russell Taylor, through his counsel, files this unopposed motion to travel. It is the
understanding of Mr. Taylor that both Pre Trial-Services and the United States Attorney’s Office
would defer to the Court on this travel request.

Mr. Taylor requests that the Court allow him to travel on the following dates:

     1. September 27 to October 7, 2022 to Utah in order to work and to service property
        owned by the family in the St. George area. Mr. Taylor will also spend a few days with
        family in the surrounding area. Mr. Taylor will travel by car to Utah through Nevada and
        briefly Arizona.



Respectfully Submitted,


Dyke Huish
Dyke Huish

Attorney for Russell Taylor
